DOCUMENTS UNDER SEAL
                    Case 4:21-cr-00122-JSW Clear
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                                                 Form 11 Filed 05/15/20 Page 149
                                                            TOTAL TIME (m ins):
                                                                                ofmins.
                                                                                  1
M AGISTRATE JUDGE                         DEPUTY CLERK                              REPORTER/FTR
M INUTE ORDER                             Ivy Lerma Garcia (by telephone)          Raynee Mercado (by telephone)
MAGISTRATE JUDGE                          DATE                                      NEW CASE         CASE NUMBER
DONNA M. RYU (by telephone)               5/15/20                                                   4-20-70327-MAG
                                                      APPEARANCES
DEFENDANT                                  AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.      RET.
GABRIEL GONZALES (by telephone)                     YES                            (Prov. Apptd. 4/4/19)
                                                               Joyce Leavitt (byy telephone)                APPT.
U.S. ATTORNEY                              INTERPRETER                            FIN. AFFT                COUNSEL APPT'D
Noah Stern (by telephone)                                                         SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR              PARTIAL PAYMENT
                             Sheri Broussard (by telephone)          APPT'D COUNSEL                OF CJA FEES

                                SET    PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRGOR        MOTION       JUGM'T & SENTG                            STATUS
                            ARRAIGN. DATE HELD 2 mins.                                                        TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT             BOND HEARING             IA REV PROB. or            OTHER
                                                                                   or S/R
       DETENTION HRG              ID / REMOV HRG          CHANGE PLEA              PROB. REVOC.               ATTY APPT
      HELD 47 mins.                                                                                           HEARING
                                                     INITIAL APPEARANCE
        ADVISED                 ADVISED                  NAME AS CHARGED              TRUE NAME:
        OF RIGHTS               OF CHARGES               IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON                READING W AIVED             W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                  SUBSTANCE
                                                 RELEASE
      RELEASED      ISSUED $75,000 Unsecured AMT OF SECURITY                SPECIAL NOTES                  PASSPORT
      ON O/R        APPEARANCE BOND         $                                                             SURRENDERED
              STAYED PENDING APPEAL BEF.                                                                   DATE:
              GEN. DUTY JUDGE R. SEEBORG
PROPERTY TO BE POSTED                   CORPORATE SECURITY                              REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED         RELEASED         DETENTION HEARING              REMANDED
      FOR             SERVICES                                                  AND FORMAL FINDINGS            TO CUSTODY
      DETENTION       REPORT                                                    W AIVED                      PENDING APPEAL
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
    CONSENT                     NOT GUILTY                 GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                         FILED
                                                       CONTINUANCE
TO:                              ATTY APPT                BOND                    STATUS RE:                 STATUS
5/27/20 (by telephone)           HEARING                  HEARING                 CONSENT                    TRIAL SET

AT:                              SUBMIT FINAN.             PRELIMINARY            CHANGE OF                  OTHER
                                 AFFIDAVIT                 HEARING                PLEA
10:30 a.m.                                                 BBBBBBBBBBBBB
                                                             OR
BEFORE HON.                      DETENTION                 $55$,*1MENT             MOTIONS                   JUDGMENT &
                                 HEARING                                                                     SENTENCING
A. G. TSE
       TIME WAIVED             TIME EXCLUDABLE           IDENTITY /             PRETRIAL                   PROB/SUP REV.
                                 UNDER 18 § USC           REMOVAL                CONFERENCE                 HEARING
                                 3161                    HEARING
                                                 ADDITIONAL PROCEEDINGS
Execution of Bond/Release Order is STAYED until 3:00 p.m. this afternoon to give the Govt's Counsel the opportunity to file an
appeal to the Gen. Duty Judge R. Seeborg. cc: Corinne/RS; Stephen/AGT; Pret. Svcs.
